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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Central District
                                                   __________  DistrictofofCalifornia
                                                                            __________

                                                                     )
                     MOSES HEREDIA,                                  )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 5:20-CV-02618-JWH (KKx)
                                                                     )
 MTK GLOBAL SPORTS MANAGEMENT, LLC; MTK                              )
 GLOBAL USA, LLC; GOLDEN BOY PROMOTIONS,                             )
  INC.; PAUL D. GIBSON; and DANIEL KINAHAN                           )
                                                                     )
                           Defendant(s)                              )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) MTK Global Sports Management, LLC
                                           Unit No: 3005-B
                                           Jumeirah Bay Tower X3
                                           Plot No: JLT-PH2-X3A
                                           Jumeirah Lakes Towers
                                           Dubai
                                           UAE

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Rajan O. Dhungana
                                           Federal Practice Group
                                           14481 Aspen Street
                                           Hesperia, CA 92344
                                           rdhungana@fedpractice.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:             08/05/2021
                                                                                         Signature of Clerk or Deputy Clerk
